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  TQ'*` E _9EB9RMK
    &dvn \vjf Rbj & j
  S*MUV I 7&PP:L7.P
    &vb Zwjf Rbj & j
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  *ovjl *vvb{ +vvv                                     JB
    P&K.. & C&Ta.KRT.;K *b| (b L   
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       & j l  N{bvvll
 !    \L<W.+ RX&X.R M6 &J.Q<*&
                             \L<T.+ RT&T/R +;RXQ=*Y *M[QX
                      3MQ T8/ *.KTQ'E +>RXQ?*T M6 *&E@4MPK>&
    ]K9T., RT&Y/R M5 &J0Q<*&            K  *Q   " d   *_8
               O{buvll                    NF.& &7P..J.KY 6MQ +.6/L+&KT
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    FF^iFGhP ~t htpX F~ ~K[ FvvPF|FpKP~ F|P F [t|bPN H <|MP| tR [P
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&    v|tKPPM |PmtPh     ,PRPp~P Ktp~Pi Fh~t ft^p~ _p [^~ Ktp~Pp
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    pt h^mbPM t [P Vthht^rX'
                      ^     ,PTPpMFp Ktp~Pp~ pMP} 3PNP|Fh ?hP~ tT
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 o    ^>8bZX89Pjo 8g8HO89N> o

 o                          HHH $>@>X=8Xco ;ZXb>Xcbo eX=>_o .>;cHZXo        9o Z@o cG>

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 o    c>N>\GZX>o H@o 72!o Hbo XZco ^>8bZX89Ojo 8g8HO89O> o

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 o    !,&.o ;co cZo \_Z<>>=o hHcGo G>^o b>Xc>X;HXFo G>8^HXEo 9ko 73!o Z_o c?R>\GZX>o

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 o                          g o   $>B>X=8Xco ;ZXb>Xcbo eX=>_o o 4 . !o no  o 8X=
 o    .>;cHZXo         9o Z@o cG>o #-'.o ;co cZo \_Z;>>=o hHcGo 8Xlo G>8^HXFo
 o    ^>F8_=HXFo 8RR>F>=o gHZR8cHZXbo Z@o cG>o ;ZX=HcHZXbo Z@o \^>c^J8Oo ^>O>8b>o 9lo

 o    7/!o Z^o c>M>\GZX>o HCo 7/!o Hbo YZco ^>8bZX89Mjo 8g8HO89O> o

o                  ;       )Zco ;ZXc>bco @8;cbo 8F^>>=o cZo HXo cGHbo 8F^>>V>Xc

 o                  =      9H=>o 9jo 8OOo 8F_>>V>Xcbo _>F8_=HXFo b>Xc>X;HXFo ;ZXc8HX>=

 o    HXo cGHbo 8F_>>V>Xc o

 o                  >       \\>8^o @Z_o 8MNo ;Ze^co 8\\>8_8X;>bo be^_>X=>^o 8bo Z^=>_>=

 o    @Z_o b>_gH;>o Z@o b>Xc>X;>o Z9>lo 8OOo ;ZX=HcHZXbo Z@o 8Xjo 9ZX=o 8X=o Z9>ko

 o    8Xjo ZcG>^o ZXFZHXFo ;Ze_co Z_=>_o HXo cGHbo V8cc>_ o

o                  @       )Zco ;ZVVHco 8Xjo ;_HV>o GZh>g>_o Z@@>Xb>bo cG8co hZeM=o 9>

 o    >i;Re=>=o CZ_o b>Xc>X;HXFo \e^\Zb>bo eX=>^o 6XHc>=o .c8c>bo .>Xc>X;HXFo

o    (eH=>OHX>bo 5 . . ( o Z_o .>Xc>X;HXFo (eH=>OHX>bo no T ;o 8^>o XZco

o    hHcGHXo cG>o b;Z\>o Z@o cGHbo 8F^>>V>Xco

o                  F        >o c_fcG@eOo 8co 8OOo cHV>bo hHcGo cG>o 6XHc>=o .c8c>b

o    +_Z:8cKZXo 8X=o +_>c_H8Ro .>^gH;>bo *D@H;>o 8X=o cG>o !Ze^c o

o                        +8lo cG>o 8\\NH;89O>o b\><H8Oo 8bb>bbW>Xco 8co Zao 9>@Z^>o cG>

o    cHV>o ZCo b>Xc>X;HXFo eXO>bbo =>@>X=8Xco G8bo =>VZXbc^8c>=o 8o O8;Lo Z@o
o    89HUHcmo dZo \8mo be;Go 8bb>bbV>Xcb o

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 o              0FGF^DA^go GjcgMFco AIcFFeo g`o C``aFcAgFo GjVVmo lRgMo gMF
 o    0FaAcg]F^go `Go 7AB`c 9GGRCFo `Go 4^faFCg`co 3F^FcAWo A^Do Aeo ENcFCgFDo Bmo
 o    gLFo ><.9o A^mo `gMFco GFEFcAVo fgAgFo X`CAVo `co G`cFNI^o ac`eFCjgN^Jo
 o    F^G`cCF]F^go AD]R^NegcAgOkFo `co cFJjYAg`cno AjgM`cNgn o       =MNfo
 o    C``aFcAgP`^o cFbjPcFeo DFGF^EA^go g`*o
 "o               A     ;Ffa`^Do hcjgMGjXVmo A^Do C`]aVFgFWmo g`o AVVo bjFegQ`^f
 %o    gMAgo ]Amo BFo ajgo g`o DFGF^DA^go lMFgMFco P^o Q^gFckQFleo BFG`cFo Ao KcA^Eo
 'o    Sjcmo `co Ago A^mo gcNAWo `co `gMFco C`jcgo ac`CFFDR^I o
 )o               B     .ggF^Do AWWo ]FFgR^Keo IcA^Do Tjcmo fFefQ`^eo gcRAWeo `c
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o    ?<.9o `co C`]aFWWFDo Bmo fjBa`F^Ao `co C`jcgo `cDFc o
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o    gA^INBWFo FkPDF^CFo cFVAgQ^Io g`o ]AggFcfo AB`jgo lMPCMo gMFo @<.9o `co Pgfo
o    DFeQJ^FFo N^bjPcFfo
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#o    5_G`c]AgP`^o eMAWVo ]FA^o A^mo egAhF]F^heo ]ADFo `co D`Cj]F^gfo cFC`cDf o
%o    gA^JOBWFo FkREF^CFo `co `gMFco R^G`c]AgQ`^o ac`kREFDo Bmo DFGF^DA^io
(o    ajcejA^go g`o DFGF^DA^gfo C``aFcAgR`^o j^EFco gMPfo AIcFF]F^go `co ajcfjA^go
)o    g`o gMFo [FggFco AJcFF]F^go acFkP`jeWmo F^gFcFDo Q^g`o Bmo gMFo aAcgPFfo EAgFDo
o    2FBcjAcmo  o o gMFo 8FggFco .IcFF]F^g-o A^Do o :WFAo
o    6^G`c]AgP`^o eMAWWo ]FA^o A^mo egAgF]F^geo ]ADFo Bmo DFGF^EA^go j^DFco `AgMo
o    Ago gMFo IjPVhmo aVFAo MFAcP^Io A^Do gMFo AIcFFDo g`o GACgjAVo BAfRfo egAgF]F^go
o    N^o gMReo AJcFF]F^g o
o          !     0FGF^DA^go GjcgMFco AJcFFe,
 o               A     =`o G`cGFQgo AWWo cRIMgo iNgVFo A^Do N^gFcFfgo R^o A^Eo g`
$o    A^mo A^Eo AVVo ]`^RFfo ac`aFcgQFfo A^D`co AfeFgfo `Go A^mo UQ^Eo DFcRkFDo
&o    Gc`]o `co ACbjPcFDo Afo Ao cFejVho `Ho gMFo PVVFIAVo AChPkPhmo g`o lMPCMo
(o    DFGF^DA^go Peo a\FAEP^Io IjRXgmo faFCRGNCAWVmo P^CVjEQ^Io Bjgo ^`go WR]RgFDo
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      Case 5:21-cr-00187-JWH Document 6 Filed 09/08/21 Page 5 of 39 Page ID #:19




 |    nb | nJA| 7ddhbuN]7nATv|   | N_| 5 2 | %qhhA_<v| kBNwB>| b_| bh| 7;bqn|

 |    .<ob;Ah|  | | nJB| )bhDALn7;VB| /hbdBhnv      | tJM<J| )bhDANn7;TB|

 |    0hbdBhnv| >BDA_>7_n| 7GhBBk| <b_knNnqnBk| nh7<B7;UA| dhb<AA>k| bD| nJA| !|

 |    5 2 & | x| | sLbY7nLb_| Dbh| tJL<K| ?BDA_?8_p| Ll| A`pCiL`H| 9| eZC9| cE|

 |    IqLTnv| 7_>| hB_>Bhk| nJA| )bhDALn7;VA| 0hbdBhnv| kq;QB<n| nb| DbhDALnqhA|

 |    dqjmq:_n| nb| !| 5 2 ' | y| "! | !| 6 2 ' | z| "! | | 5 2 ' | y| W= | bh|
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 !|                ;     3b| nJA| %brhnk| B_nhv| bD| 7_| bh>Bh| bD| DbhDBMnqhB| 7n| bh

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|    DbhDBMnqhA| bD| nJA| )bhDANn7;TB| 0hbdAhnv |

|                <     4b| n7SB| tJ7nBsBh| knBdm| 7hB| _A<Akk7hv| nb| d7mk| nb| nJA
|    5_NnA>| 2n7nAm| <YA7h| nNnVB| nb| nJB| )bhDALn8;YB| 1hbdAhnv | N_<Yq>L_I |
|    tLnJbqn| YL^Ln7nNb_ | nJA| AuB<qnNb_| bD| 7| <b_kB_n| >A<hAB| bD| DbhDAMnqhA |

|    nJA| BuA<qnLb_| bD| t7LsBhm| ;v| nJLh>| d8hnNAm| tJb| ^NGJn| <V7M^| 7_| N_nAhAmn|

|    L_| nJA| *bhDALn7;YB| 0hbdBhnv | 7_?| nJB| <b]dYAnL_I| bD| 7_v| bnJAh| VAI7Y|

|    >b<q^A_nm| hBfqNhA>| Dbh| nJA| nh7_kDAh| bD| nNnYA| bD| nJB| )bhDBLn7;YA|
 |    0hbdBhnv| nb| nJA| 5_LnB>| 2n7nBm |
!|                ?     -bn| nb| <b_nBkn| 7_v| 8@^L_Lknh7nLsA| FbhDBNnqhA
#|    dhb<BB>N_Im| bh| <LsLY| Rq>L<N7T| dhb<BB>L_Gm| <b^]A_<B>| 7G7L_mn| nJB|

|    +bhDANn8;ZB| 0hbdAhnv |    ,D| >ADA_>7_n| kq;^MnnA>| 8| <Y7L^| 7_>bh| dAnMnLb_|

|    Dbh| hB^LmmLb_| Dbh| 7YY| bh| d7hn| bD| nJB| )bhDANn7;YA| 0hbdBhnv| b_| ;BJ7YD|
|    bD| JBhmA[D| bh| 7_v| bnJBh| M_>OsP>q7Y| bh| A_nLnv | >ADA_>7_n| kJ7VY| 8_>|
|    JAhB;v| >bBk| tMnJ>h7t| 7_v| kq<J| <Y7M]m| bh| dBnNnLb_k | 7_>| DqhnJBh| 7IhABk|
|    nb| t7LsB| 7_v| hLIJn| mJB| ]7v| J7sB| nb| mBBS| hA]MmmLba| bh| ]LnLG8nMb_| bD|

|    nJB| DbhDBMnqhB| bD| nJA| )bhDALn7;YB| 0hbdBhnv | (BDA_>7_n| DqhnJAh| t7NsAm|

|    7_v| 7_?| 7YY| _bnL<A| hAgqLhB]B_nk| bD| !| 5 2 % | {| #!|7 ||$   |
 |                B     -bn| nb| 7mmMmn| 7_v| bnJAh| N_>LsL>q7\| M_| 7_v| BDDbhn
!|    D7YmAUv| nb| <b_nBmn| nJB| DbhDALnqhB| bD| nJA| )bhDBLn7;YB| /hbdAhnv |

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 #z                      5K8mz BchC@Lmph@z cBz *chF@Lm8:[@z 0hce@hmwz jK8[[z bcmz :@
 z    <cpbm@=z mct8h?z j8mLjC8<lLcbz cFz 8bwz je@<L8[z 8jj@jj_@bmz FLb@z
z    h@jmLmpmLcbz <cjmjz chz cmK@hz e@b8Xmwz mK@z 'cphmz _8wz L_ecj@z
z                  Q    7LmKz h@je@<mz mcz 8bwz <hL_Lb8Xz BchF@Lmph@z ch?@h@=z 8jz 8
z    h@jp[mz cCz mKMjz eZ@8z 8Hh@@`@bmz =@C@b=8bmz t8Lr@j$z z mK@z h@fpLh@_@bmjz
z    cCz +@?@h8[z 1pW@jz cBz 'hL_Lb8[z 0hc<@=ph@z z 8b?z 8z h@H8h?LbHz
z    bcmM<@z cCz lK@z FchC@Mmqi@z Obz mK@z <K8hHLbHz Lbjlhp_@bmz 8bbcpb<@_@bnjz cCz
z    mK@z BchE@Lmph@z 8mz j@bm@b<LbHz 8b?z Lb<chech8mMcbz cBz mK@z FchE@Loph@z Mbz
z    mK@z Rp?H_@bm%z z 8XXz <cbjmLmpmLcb8Xz 8b?z jm8mpmchwz <K8XX@bH@jz mcz mK@z
"z    BchB@Lmph@z Lb<[p?LbHz ;wz ?Lh@<mz 8ee@8[z K8:@8jz <chepjz chz 8bwz cmK@hz
#z    _@8bj%z 8b=z z 8\[z <cbjmLmpmMcb8[z V@H8[z 8b?z @gpLm8;[@z =@B@bj@jz mcz
 z    mK@z BchB@Lmph@z cBz mK@z +chB@Lm8;V@z 0hce@hmwz Lbz 8bwz ehc<@@?LbHz cbz 8bwz
z    Hhcpb?jz Lb<]p=MbHz tLmKcpmz [L_Ll8mLcbz mK8mz mK@z BchC@Lmph@z
z    <cbjmLmpm@jz 8bz @v<@jjLr@z CLb@z chz epbLjK_@bm z      (@B@b?8bmz 8<Sbct[@=H@jz
z    mK8mz mK@z FchB@Lmph@z cEz mK@z +chB@Lm8:[@z 0hce@hmwz Ljz e8hmz cGz mK@z
z j@bm@b<@z mK8mz _8wz ;@z L_ecj@?z Lbz mKPjz <8j@z 8b=z t8Mr@jz 8bwz B8LZph@z :wz
z    mK@z 'cphmz mcz 8?rLj@z =@B@b=8bmz cEz mKLjz ephjp8bmz mcz *@?@h8Wz 1p[@z cBz

z    'hL_Lb8Vz 0hc<@?ph@z ^^;zz,z 8mz mK@z mLa@z mK@z 'cphmz 8<<@emjz
 z    ?@B@b?8bmjz HpL[mwz e[@8z
"z
                                               
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                                 ;.(x >9#59x 5$2/-#<0549x
              <SIx ?:#6x CNiIIjx lf"x
                 C     4flx EfdlIjlx JCEljx CNiIIGx lfx Tdx lSTjx CNiIIbIdl
                 D     #DTGIx Dtx CYYx CNiIIbIdljx iIOCiGTdOx kIdlIdETdOx EfdlCTdIG
 x    Tdx lSTjx CNiIIbIdl x
                    #lx mRIx lTbIx fJx jIdmIdETdNx gifpTGIGx lSClx GIKIdGCdl
 x    GIbfdjliClIkx Cdx CEEIglCdEIx fMx iIkgfdjTDTZTlux Lfix lSIx fLKIdkIx ogx lfx
  x    CdGx TdEYoGTdNx lSIx lTbIx fMx kIdlIdETdNx iIEfbcIdGx Cx lqf YIpIYx iIGoEnTfdx
 !x    Tdx lSIx ChhYTECDYIx 9IdlIdETdNx -oTGI[TdIjx fJJIdjIx \IpIYx goijoCdlx lfx
x    > 9 9 -x vx )] ^x CdGx iIEfcbIdGx CdGx TJx dIEIkkCiux bfpIx Mfix Cdx
x    CHGUlTfdCYx fdI YIpIYx iIGoElTfdx TJx CpCTYCDYIx odGIix lSClx jIElTfd x
x                G     8IEfbbIdGx lSClx GIKIeGCdlx DIx jIdlIdEIGx lfx Cx lIicx fK
x    TbhiTjfdbIdlx dfx STNSIix lSCdx lSIx Yfqx IdGx fMx lSIx ChhYTECDYIx 9IdlIdETdNx
x    -oTGIYTdIkx iCdNIx gifpTGIGx lSClx lSIx fJJIdkIx YIpIYx ojIGx Dux lRIx &foilx
x    lfx GIlIibTdIx lSClx iCdNIx Tjx x fix STNRIix CdGx gifpTGIGx lSClx lRIx &foilx
x    GfIjx dflx GIhCilx GfqdqCiGx Tdx fJJIdkIx YIpIYx fix EiTbTdCYx STjlfiux
x    EClINfiu x +fix hoihfkIkx fMx lSTjx CNiIIbIdlx lSIx Yfqx IdGx fJx lSIx
 x    9IdlIdETdPx -oVGI_WdIjx iCdQIx Xkx lSClx GIKTdIGx Dux lRIx 9IdlIdFTdNx =CD_Ix
!x    Tdx @ 9 9 - x &SChlIix x 7Cilx # x
x                I     (rEIhlx Mfix EiTbTdCYx lCsx pTf`ClTfdjx TdEYoGTdN
x    EfdjhTiCEux lfx EfbbTlx joESx pTfaClTfdkx ESCiNICDYIx odGIix  x > 9 & x
x    v x dflx JoilSIix EiTbTdCYYux hifjIEolIx GIJIdGCdlx Jfix pTfYClTfdkx fM
x     x A 9 & x vwx  #x #NNiCpClIGx 1GIdlTlux <SIKlx !x ,iCoGx CdGx
x    iIYClIGx CElTpTlux Tdx EfddIElTfdx qTlSx CEEIjjx GIpTEIkx x 3CTYx
x    ,iCoGx x BTiIx +iCoGx CdGx !x #llIbglx CdGx &fdjgTiCEux lfx &fbbTlx
x    3CTYx CdGfix BTiIx ,iCoGx CiTjTdNx folx fKx GIJIdGCdljx EfdGoElx GIjEiTDIGx
x    Tdx lSIx CNiIIG lfx JCEloCYx DCjTjx jIlx KfilSx Tdx *rSTDTlx %x CllCESIGx
 x    SIiIlf x 'ILIdGCdlx odGIijlCdGkx lSClx lSIx >9#5x Tkx JiIIx lfx EiTbTdCYYux
                                              
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 y    ehdk?;pl?y <?C?b<7bly Adhy 7bwy dlI?hy pbV7tCpVy e7kly ;db<p;ly dhy 7bwy
 y    pbR7tBpSy ;db=p;ly lI7ly d;;phky 7Cl?hy lI?y <7l?y dCy lIJky 7Gh??_?bl y
 y    *?C?b<7bly 7Gh??ky lI7ly 7ly lI?y lJ_?y dCy k?bl?b;JbGy lI?y )dphly _7wy
 y    ;dbkO<?hy lI?y pb;I7hG?<y ;db<p;ly Kby <?l?h_MbLbHy mI?y 7ffTM;79U@y
 y    3?bl?b;JbGy +pJ<?VJb?ky h7bG?y lI?y ehdehJ?lwy 7b<y ?vl?bly dCy 7bwy
 y    >?g8inqj?y Djd_y nI8ly h8bG?y 7b=y lI?y k?bl?b;?y ldy :?y J_edk?<y 7Cl?hy
 y    ;dbkJ<?h7lJdby dAy lI?y 3?bl?b;JbGy ,pJ<?WJb?ky 7b<y 7VXy dlI?hy h?Y?r7bly
 !y    C7;ldhky pb<?hy !y 5 3 ) y xy 7 y
 #y              4I?y 53(1y EphlI?hy 8Gh??k%
y               7     /dly ldy dCF?hy 7ky ?sJ<?b;?y Jby Klky ;7k?Jb;IJ?Ay Jby lI?
y    7:ds?;7elJdb?<y ;7k?y dhy 7bwy dlI?hy ;hJ_Jb7Vy ehdk?;plJdby lI7ly _7wy :?y
y    :hdpGIly 7G7Jbkly <?C?b<7bly :wy lI?y 53(1y dhy Jby ;dbb?;lJdby uJlIy 7bwy
y    k?bl?b;JbGy ehd;??=JbGy Jby 7bwy ;hJ_Jb7Zy ;7k?y lI7ly _7wy :?y :hdpGIly
y    7G7Jckly <?C?b<7bly :wy lI?y 53(1y 7bwy )dde?h7lJdby -bCdh_7lJdb y
y    *?F?b<7bly 7Gh??ky Idt?s?hy lI8ly lI?y 63(1y _7wy pk?y :dlIy )dde?h7lJdby
y    .bCdh_7lJdby 7b<y 2[?7y .bCdh_7lKdb%y y ldy d:l7Jby 7b<y ephkp?y \?7<ky ldy
y    dlI?hy ?rJ=?b;?y tIJ;Iy ?rJ<?b;?y _7wy :?y pk?<y Cdhy 7bwy ephedk?y Jb;Vp<JbGy
!y    7bwy ;hJ_Jb7Vy ehdk?;plJdby dCy <?C?b<7bl&y y ldy ;hdkk ?v7_Nb?y <?C?b<7bly
$y    kIdp]<y <?C?b<7bly l?klJCwy dhy ldy h?:ply 7bwy ?sJ<?b;?y dCC?h?<y dhy
y    7hGp_?bly dhy h?eh?k?bl7lJdby _7<?y :wy <?C?b<7bly <?C?b<7blky ;dpbk?Vy
y dhy 7y tJlb?kky ;7VV?<y :wy <?A?b<7bly Jby 7bwy lhJ7Vy k?bl?b;JbGy I?7hJbGy dhy
y    dlI?hy ;dphly ehd;??=ObG'y 7b<y y Jby 7bwy ;hJ_Jb7Vy ehdk?;plJdby dCy
y    <?C?b=7bly Cdhy C7^k?y kl7l?_?bly d:klhp;lJdby dCy PpkoJ;?y dhy e?hQphw y
y               :     0dly ldy pk?y )dde?h7lJdby -bCdh_7lJdby 7G7Jbkly <?C?b<7bl
y    7oy k?bl?b;JbGy Cdhy lI?y ephedk?y dCy <?l?h_JbJbGy lI?y 7eeVJ;7:V?y GpO<?VJb?y
y    h7bG?y Jb;Vp<JbGy lI?y 7eehdehJ7l?b?kky dCy 7by pet7h<y <?e7hlph?y dhy lI?y
 y    k?bo?b;?y ldy :?y J_edk?<y 7b<y ldy h?;d`a?b<y ldy lI?y )dphly lI7ly
!y    )dde?h7lJdby .bCdh_7lJdby bdly :?y pk?<y Jby <?l?h_JbJbGy lI?y 7eeWJ;8:[?y
                                             "y
         Case 5:21-cr-00187-JWH Document 6 Filed 09/08/21 Page 9 of 39 Page ID #:23




     f    @^E69KEU9f Z3U@9f VZf ]A9f [9U]9U59f ]Vf 49f ETWV[96 f 9;9U63U]f
         _U79Z[\3U7[f CVb9a9Zf \C3\f VVW9Z3\EVUf "U;VZT3\EVUf bELMf 49f 6E[5NV[96f
         \Vf ]A9f 1UE]96f .\3]9[f *ZV43\EVUf 3U6f *Z9]ZE3Nf .9ZaE59[f );;E59f 3U6f ]A9f
         V`Z\f 3U6f ]A3]f \A9f V`Z\f T3df `[9f VVW9Z3]FVUf #U<VZT3]FVUf ;VZf ]B9f
         W`ZWV[9[f [9\f ;VZ]Af EUf 1 . . !f ef       4f 3U6f ;VZf 69]9ZTEUEU@f ]A9f
         [:U\9U59f \Vf 49f ETXV[96 f
                     5      $Uf 5VUU95\EVUf bE\Cf 69;9U63U][f [9U]9U5EU@f ]Vf 4ZEU@f ]V
          \C9f V_Z][f 3]]9U]FVUf ]A9f U3\_Z9f 3U6f 9c]9U]f V=f 69;9U63U\[f
          5VVW9Z3]EVU f
     f                6     #;f \A9f 1/)f 69\9ZTEU9[f EUf E][f 9c5O_[Ea9f H_6@T9U]
     f    ]A3]f 89;9U63U]f A3[f 4V]Af 5VTWKG96f bG]Af 69;9U63U][f V4KE@3]EVU[f `U69Zf
 f       W3Z3@Z3WC[f f 3U6f f 34Va9f 3U6f WZVaE696f [_4[]3U]E3Of 3[[E[]3U59f ]Vf K3bf
 f       9U;VZ59T9U\f EUf \A9f WZV[95_\EVUf VZf EUa9[]E@3\EVUf V;f 3UV]A9Zf
 f       [_4[\3U]E3Kf 3[[E[]3U59f ]Vf TVa9f \C9f V_Z]f W_Z[_3U]f \Vf 1 . . ! f
 f       e 'P Qf \Vf ;Ecf 3Uf V;;9U[9f K9a9Kf 3U6f 5VZZ9[WVU6EU@f @_E69KEU9f Z3U@9
 f       49MVbf ]A3]f V\C9ZbE[9f 6E5]3]96f 4df \A9f [9U]9U5EU@f @`E69LEU9[f 3U6f \Vf
 f       Z95VTT9U6f 3f ]9ZTf V;f ETWZE[VUT9U]f bE\CEUf ]AE[f Z96^596f Z3U@9 f
 f                    ((0.f 2(,/0(%(!/f -!,&(!f ))+-0#)(f
 f                 9;9U63U]f _U69Z[\3U6[f \A9f ;VLRVbEU@
 f                  3      Udf JUVbEU@Sdf ;3N[9f VZf TE[K936EU@f []3]9T9U]f 4d
 f 69;9U63U]f bERRf [`4I95]f 69;9U63U]f ]Vf WZV[95`]EVUf >VZf ;3R[9f []3\9T9U\f
f       V4[]Z`5]EVUf V;f H_[]G59f 3U6f W9ZH`Zdf 3U6f bEOKf 5VU[\E]_\9f 3f 4Z935Cf 4df
f       69;9U63U\f V;f ]AE[f 3@Z99T9U] f
                   4     (V\AEU@f EUf ]DE[f 3@Z99T9U\f Z9Y_EZ9[f \A9f 1/)f VZf 3Ud
f       V\D9Zf WZV[95`]EU@f 9U;VZ59T9U]f 36TEUE[\Z3]Ea9f VZf Z9@`K3\VZdf
f       3`\AVZE]df \Vf 3559W\f 3Udf 5VVW9Z3]EVUf VZf 3[[E[]3U59f ]A3]f 69;9U63U]f T3df
f       V?=9Zf VZf ]Vf _[9f E]f EUf 3Udf W3Z]E5_K3Zf b3d f
f
                                                  
         Case 5:21-cr-00187-JWH Document 6 Filed 09/08/21 Page 10 of 39 Page ID #:24




     a                    ;<;Q:7QWa 97QQRWa \CWA:T7\a :;=;Q:7QWVa ?YBKW_a SN;7a C=

 a       W@;a 2-*a :R;Ua QRWa O7I;a 7a ORWCRQa SYTUY7QWa WRa 3--%a `a .'J a <RTa 7a

 a       T;:Y9;:a ?YB:;KCQ;a T7Q?;a RTa B=a WA;a 2-*a O7I;Va VY9Aa 7a ORWCRQa 7Q:a W@;a

 a       RYTWa :R;Ua QRWa ?T7QWa CWa RTa C=a WA;a RZTWa ?T7QWVa VZ9Aa 7a 4/+a ORWCRQa 8ZWa

 a       ;K;9WUa WRa U;QW;Q9;a 78R[;a WA;a T;:Y9;:a T7Q?;a

 a                   :    Wa WABVa WCO;a WA;a 6-*a O7I;Va QRa 7?T;;O;QWa RT

 a       T;ST;U;QW7WCRQa 7Va WRa \@;WA;Ta 7Q_a 9RRS;T7WBRQa W@7Wa :;=;Q:7QWa A7Va

 a       STR[D:;:a RTa BQW;Q:Va WRa STR[C:;a 9RQVWCWYW;Va RTa \BKKa 9RQVWBWYW;a
 a       VY8VW7QWC7Ka 7VUBVW7Q9;a     0A;a :;9CUBRQa ]@;WA;Ta :;=;Q:7QWa @7Va STR[C:;:a

     a    VZ8VW7QWC7La 7VUCVW7Q9;a \CKKa T;UWa VRK;K_a \CWACQa WA;a ;^9KYUC[;a HY:?O;QWa

     a    R=a WA;a 5-*a

                    ;    1A;a 5-*Ua :;W;TOBQ7WCRQa \A;WA;Ta :;=;Q:7QWa @7V

 a       STR[C:;:a UY8UW7QWE7Ka 7UUCVW7Q9;a \CKLa QRWa :;S;Q:a FQa 7Q_a \7_a RQa \A;W@;Ta

        W@;a ?R[;TQO;QWa ST;[7CKVa 7Wa 7Q_a WTB7Ma RTa 9RYTWa A;7TCQ?a BQa \AC9Aa

        :;>;Q:7QWa W;VWC=C;Va RTa CQa \AC9Aa W@;a ?R[;TQO;QWa RW@;T\CV;a ST;U;QWUa

 a       CQ=RTO7WBRQa T;VYKWCQ?a =TROa :;=;Q:7QWUa 9RRS;T7WBRQa

 a                                    (16,!a *#a 1&!a *#$!)-"a

 a                  ;=;Q:7QWa ZQ:;TVW7Q:Va WA7Wa =RTa :;=;Q:7QWa WRa 8;a ?ZCKW_a R=

 a       WA;a 9TCO;a 9A7T?;:a CQa 9RYQWa RQ;a R<a WA;a BQ>RTO7WBRQa WA7Wa CVa O7CKa

 a       =T7Y:a CQa [CRK7WCRQa R=a 0CWL;a a 4QCW;:a -W7W;Ua R:;a -;9WCRQUa a

        WA;a =RKKR\CQ?a PYVWa 8;a XTZ;a

                    7    #CTVWa WA;a :;=;Q:7QWa IQR\BQ?K_a S7TWB9CS7W;:a CQa 7

a       V9@;O;a RTa SL7Qa WRa :;=T7Y:a RTa 7a V9A;O;a RTa SN7Qa <RTa R8W7CQCQ?a ORQ;_a RTa

a       STRS;TW_a 8_a O;7QVa R=a =7LU;a RTa =T7Y:YL;QWa ST;W;QV;Va T;ST;V;QW7WCRQVa

a       RTa STROBU;Va

a                   8     -;9RQ:a WA;a UW7W;O;QWVa O7:;a RTa =79WUa ROCWW;:a 7Ua S7TW

a       R=a W@;a U9@;O;a \;T;a O7W;TG7Ka WA7Wa CVa W@;_a A7:a 7a Q7WYT7Ka W;Q:;Q9_a WRa

a
                                                 
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 u   NbGUoDb?Du fju rDjDu ?<h=>VDu fGu NbG[oDb@ObIu <u hDjlfbu mfu h=jmu rOmJu
 u   _fbDtu fju hjfhDjmt!u
 u                   8MPjBu mJDu BDFDbB=bmu <@mDBu rQmJu mJDu PbmDbmu mfu BDGj<oB
 u   mK=mu Olu mJDu ObmDbmu mfu BD@DNqDu <dBu @LE<m"u <cCu
 u               B     ,fojmJu mJDu BDFDbB=bmu olDBu fju @=olDBu mfu >Du olDBu mJD
 u   `<OWlu mgu @<jjtu gpmu gju <mmD`hnu mgu @<jjtu gomu =bu DllDbmP=Xu h=jmu fGu mJDu
 u   lAJD_D u   #u a<NVObIu Olu ?<olDBu rJDdu fbDu Tbfrlu mJ<mu mJDu _<O[lu rNVVu >Du
 u   olDBu Qbu mJDu fjBOb<jtu ?fojlDu gGu >olObDllu gju rJDbu fbDu @=bu jD<lfb<>[tu
 u   FgjDlDDu lo?Mu olD u -mu BfDlu bgmu _=mmDju rJDmJDju mJDu `=mDjP=Yu _=RZDBu r<lu
 u   OmlD[Gu G=[lDu fju BD?DhmOqDu lfu VfbIu <lu mJDu `<PVu r=lu olDBu <lu <u h<jmu fFu
u   mJDu l@JD_Du bfju BfDlu Omu _<mmDju rJDmJDju mJDu l@JD`Du gju h[=bu r=lu
u   lo?@DllGoVu fju mJ<mu =btu _fbDtu fju hjfhDjmtu r=lu f>m<PbDB u
u                               5+2#18.+7u #2*u 6+78/9:9/32u
u              (DFDbB<bmu obBDjln<bBlu mJ<mu mJDu lm<momfjtu `=sO_o_u lDbmDb@D
u   mM=mu mJDu %gojmu @<bu Q`hflDu Ffju <u qQf[<mNfbu fGu 8OmVDu u :bQmDBu 7m<mDlu
u   &fBDu 7D?mOfbu u Sl u =u  tD<ju mDj`u fFu N_hjNlfb`Dbm!u <u tD<ju
u   hDjOfBu fGu lohDjqOlDBu jD[D<lD!u <u GQbDu fGu         u fju mrO?Du mJDu Ijfllu
u   I<Obu fju Ikfllu Yfllu jDlo[mNbIu Fjf`u mJDu fHFDblDu rJO?JDqDju Olu IjD<mDlm!u
u   <bBu =u _=bB<mfjtu lhD?N=[u =llDll_Dbmu fFu       u
 u             )DFDbB<bmu obBDjlm<bBlu mJ=mu BDGDbB<bmu rP\[u >Du jDioNjDBu mf
u   h<tu Go[Yu jDlmQmomPgbu mfu mJDu qO?mQ`lu fFu mJDu fGGDblDu mfu rMN?Ju
u   BDFDbB=bmu Olu hVD<BObIu IoNVmt u     *DFDbB<bmu =IjDDlu mJ=mu Obu jDmojbu Fgju
u   mJDu ;7$4lu @g_h[O<e@Du rPmJu Qmlu g>WQI=mQgblu obBDju mJOlu <IjDD`Dbmu mJDu
u   &gojmu `<tu fjBDju jDlmOmomNfbu mfu hDjlfblu fmJDju mJ=bu mJDu qN?mN`lu fFu
u mJDu fGGDblDu mfu rJP?Ju BDGDbB<bmu Plu h[D=BObIu IoN]mtu <bBu Obu =`gobmlu
u   IjD=mDju mM=bu mJflDu <V]DIDBu Pbu mJDu @fobmu mgu rJP?Mu BDGDbB=bmu Olu
u   h^D=BObIu IoO[mt u      0bu h<jmO@o[=ju BDFDbB=bmu =IjDDlu mJ<mu mJDu 'fojmu `<tu
u fjBDju jDlmNmomNfbu mfu =btu qO@mO_u fFu <btu fFu mJDu Gf]VfrQbIu Gfju <btu
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      Case 5:21-cr-00187-JWH Document 6 Filed 09/08/21 Page 12 of 39 Page ID #:26




 W    CINN2NW NP442M21W .TW O7-OW Q80O8EW -NW -W M2NP>OW -W -GTW M2>2Q-GOW 0IG1P0OW
 W    -NW 1238G21W 8GW ,( ( # W VW  W 8GW 0IGG20O8IGW R9O7W O72W I442GN2W OIW
 W    R7807W 1242G1-GOW 8NW JC2-18G5W 5P9COTW -G1W .W -GTW 07-M52NW GIOW
 W    JMIN20PO21W KPMNP-GOW OIW O78NW -6M22E2GOW -NW R2>>W -NW -B>W M2>2Q-GOW
 W    0IG1P0OW -NW 1248G21W 8GW , ( ( $ W VW  W 8GW 0IGG20O8IGW R8O7W O7IN2W
 W    07-M52N W   )72W J-MO82NW 0PMM2GO?TW /2C82Q2W O7-OW O72W -JJC80-/C2W -EIPGOW I4W
 W    M2NO8OPO9IGW 8NW -OW >2-NOW W -G1W O72W 5IQ2MGE2GOW 0PMM2GOCTW
 W    /2C82Q2NW O7-OW O72W -JJ@80-/C2W -EIPGOW I4W M2NO8OPO8IGW 8NW -JJMIS8E-O2CTW
 W    W /POW O72W J-MO82NW /IO7W M20I5G8U2W -G1W -5M22W O7-OW O72N2W
W -EIPGONW 0IP>1W 07-G52W .-N21W IGW 4-0ONW O7-OW 0IE2W OIW O72W -OO2GO8IGW I4W O72W
W    J-MO82NW JM8IMW OIW N2GO2G08G5 W
W              "242G1-GOW -5M22NW O7-OW -GTW -G1W -A>W 49G2NW -G1 IMW M2NO9OPO9IG
W    IM12M21W .TW O72W IPMOW R8BBW .2W 1P2W 8EE219-O2>T W *72W 5IQ2MGE2GOW 9NW GIOW
W    JM20>P121W 4MIEW JPMNP8H5W 8GW 2S02NNW I4W -GTW J-TE2GOW N0721P>2W N2OW /TW O72W
W    !IPMOW -GTW -G1W -CCW -Q-8B-/B2W M2E2182NW /TW R7807W OIW N-O8N4TW 1242G1-GONW
W    J-TE2GOW I4W O72W 4PBCW 48G-G08->W I/>85-O9IGW 8G0CP19G5W M242MM-BW OIW O72W
W    +M2-NPMTW &44N2OW 'MI5M-E W +IW O7-OW 2G1W O72W 5IQ2MGE2GOW R8CCW 49>2W -W
W    JINO<P15E2GOW D82GW -5-8GNOW 1242G1-GONW JMIJ2MOTW .POW -5M22NW OIW
W M24M-8GW 4MIEW -GTW -0O8Q2W 0IBC20O9IGW -0O8IGW -5-8GNOW 1242G1-GONW JM8E-MTW
W M2N912G02 W %IOR:O7NO-G18G5W O72W 4IM25I8G5W 9GW O72W 2Q2GOW 1242G1-GOW
W N2CCNW 0IGQ2TNW IMW IO72MR;N2W OM-GN42MNW 72MW 9GO2M2NOW 9GW 72MW JM8E-MTW
W    M2N812G02W 1242G1-GOW -5M22NW -G1W 0IGN2GONW O7-OW O72W 5IQ2MGF2GOW R8>BW .2W
W    2GO8OC21W OIW -JJ>TW O72W JMI0221NW I4W NP07W OM-GN42MW OIW 72MW -GO808J-O21W
W M2NO8OPO8IGW I/B85-O8IGW
W              "242G1-GOW PG12MNO-G1NW O7-OW NPJ2MQ8N21W M2C2-N2W 8NW -W J2M8I1
W    I4W O9E2W 4IC>IR8G5W 8EJM9NIGE2GOW 1PM9G5W R7807W 1242G1-GOW R8>>W /2W NP/=20OW
W    OIW Q-M8IPNW M2NOM80O9IGNW -G1W M2LP8M2E2GON W "242G1-GOW PG12MNO-G1NW O7-OW
W    84W 1242G1-GOW Q8IC-O2NW IG2W IMW EIM2W I4W O72W 0IG18O8IGNW I4W -GTW NPJ2MQ8N21W
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 [    L'<'N'[ 2@FEN'$[ $'('B$BO[ @W[ "'[ L'OSKB'$[ OE[ FK2NEB[ (EK[ <<[ EL[ FLO[
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 [    EL[ @@SB2O5EB[    '('B$BO[ SB$'KNO B$N[ O/O[ O/'[ #EBT2#O2EB[ 2B[ O/2N[
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 [    #EBN'IS'B#'N[ 2B#<S$2B.[ "SO[ BEO[ <2@2O'$[ OE[ K'TE# O2EB[ E,[ FKE"O2EB[
[    FKE<'[ EL[ NSF'LT7N'$[ K'<'N'[ 2B[ BEO/'L[ #N'[ B$[ NSNF'BN2EB[ EK[
[    K'TE#O8EC[ E([ [ FKE,'NN2EB <[ <2#'BN'[      '('B$BO[ SB$'KNOB$N[ O/ Q[
[    SBBO2#2FO'$[ #E<<O'K>[ #EBN'JS'B#'N[ U2<>[ BEO[ N'KT'[ N[ .KESB$N[ OE[
[    U2O/$MU[ &','B$BON[ .S2<RW[ H<'[
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 [    $','B$BO[ SB$'KNOB$N[ O/O[ 2,[ $'*'B$BO[ 2N[ BEO[ [ B2O'$[ OO'N[
 [    #2O5Y'B[ O/'[ #EBT2#O2EB[ 2B[ O/2N[ #N'[ @;'N[ 2O[ FK#O2#<<W[ 2B'T2O"<'[
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 [    #2O2Z'BN/2F[ B$[ $@2NN2EB[ OE[ O/'[ B5O'$[ OO'N[ 2B[ O/'[ ,SOSK'[
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  l     ESSB@[6aBWVl 9WV^;Zb;V9;^l 6[;l aA;l ^b8I;9al W<l 6l ^;X6[6a;l X[W9;;:EV@l 6V:l
 l     aA7_l VWl WV;l EV9Lb:CV@l A;[l 7a`W[V;jl W[l aA;l Wb[al 96Vl X[;:D9al aWl 6Vl
 l     68^WKba;l 9;[a6EVajl aA;l ;<<;9al W<l A;[l 9WVeE9aBWVl WVl A;[l BSSE@[6aEWVl
 l     ^a6ab^l ;<;V:6Val V;e;[aA;L;^^l 6<<E[S^l aA6al ^A;l g6Va^l aWl YL;6:l
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  l     W<<;V^;l aWl hAE9Al :;<;V:6Val B^l 6@[;;BV@l aWl XL;6:l @bBLajl    ;<;V:6Val
  l     6V:l aA;l 4.,l 6@[;;l aWl aA;l ^a6a;T;Val W<l =69a^l X[WeB:;:l EVl !iAE8Eal l
 l     6aa69A;:l A;[;aWl 6V:l 6@[;;l aA6al aAE^l ^a6a;S;Val W<l <69a^l E^l ^b<<B9E;Val
 l     aWl ^bXXW[al 6l XL;6l W>l @bELajl aWl aA;l 9A6[@;l :;^9[B8;:l EVl aAB^l 6@[;;T;Val
l     6V:l aWl ;^a68LE^Al aA;l .;Va;V9EV@l &bE:;LHV;^l <69aW[^l ^;al ?W[aAl EVl
 l X6[6@[6XAl l 8;LWgl 8bal E^l VWal S;6Val aWl 8;l 6l 9WSXL;a;l [;9Ea6aBWVl W<l
 l     6LPl <69a^l [;Q;e6Val aWl aA;l bV:;[LjEV@l 9[EUEV6Ll 9WV:b9al W[l 6QLl <69a^l
 l     JVWgVl aWl ;BaA;[l X6[ajl aA6al [;O6a;l aWl aA6al 9WV:b9al
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 l     ^;Va;V9;l aA;l Wb[al E^l [;ZdH[;:l aWl 96L9bO6a;l aA;l 6XXOE978O;l .;Va;V9HV@l
 l     &bE:;LEV;^l [6V@;l 7V:l aWl 9WV^E:;[l aA6al [6V@;l XW^^E8Q;l :;X6[ab[;^l
l     bV:;[l aA;l .;Va;V9GV@l &bE:;LGV;^l 6V:l aA;l WaA;[l ^;Va;V9EV@l <69aW[^l ^;al
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l 6Vjl ;iX;9a6aEWVl W<l [;9;BeEV@l 6l ^;Va;V9;l gEaAEVl aA;l 96O9bL6a;:l
l     .;Va;V9EV@l &bE:;LEV;^l [6V@;l 6V:l aA6al 6<a;[l 9WV^E:;[BV@l aA;l
l .;Va;V9BV@l &bE:;QEV;^l 7V:l aA;l WaA;[ kl 6l <69aW[^l aA;l Wb[al gHLLl
l     8;l <[;;l aWl ;i;[9E^;l Ba^l :E^9[;aEWVl aWl ESXW^;l 6Vjl ^;Va;V9;l Eal <EV:^l
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      DwwyvwxRD}K w }v }PK nDSno {K} E {}D}}K Nvy }PK GzSnK vL

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     vN yK{wvu{SFSaS} DrJ  SN DwwgRGDEaK  ovK Lvx Dr DJJR}RvrDa vrK

     aKKa JvrDxJ DJ^{}oKr} rJKy A>>1  .hhE vri SL }PK
     GvrJW}Svr{ {K} Lvy}P [r wDxDOxDwP G DxK oK} DrJ ZL JKLKrJDr} PD{
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      sMAu sNH `jrr FjHr hju H|DHHF   gW`aWjh  9xCZHDs uj lAnALnAlNr

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                 A     :NH nTLNs uj lHnrWru Wh A laHA jJ hju LxTau}

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  l     Z;XZ;[;T];:l 8kl 9WbT[;Ll  7T:l K<l T;9;[[7Zkl C7e;l ]C;l $WbZ]l 7XXWKT]l
 l     9WbT[;Ml  7^l ;e;Zkl W]C;Zl \_7@;l W=l _C;l XZW9;;:GT@l

 l                :    3C;l ZK@D`l `Wl 8;l XZ;\bR;:l HTTW9;T]l 7T:l `Wl D7e;l `D;

 l     8bZ:;Tl W>l XZWW>l XN79;:l WTl `E;l @We;ZTR;T`l `Wl YZWe;l :;?;T:7T`l AcIO`jl

 l     8;kWT:l 7l Z;7[WT78L;l :Wb8]l
 l                ;    4C;l ZJ@C]l ]Wl 9WT>ZWT]l 7T:l 9ZW[\;h7SKT;l gK]T;\[;\
 l     7B7KT[]l :;>;T:7T]l
  l                >    3C;l ZK@D]l ]Wl ];[]I>kl 7T:l `Wl XZ;[;T]l ;fK:;T9;l KT

 !l     WXXW\K`IWTl `Wl aD;l 9F7Z@;\l HT9Lb:IT@l `D;l ZH@D]l ]Wl 9WSX;Ol `C;l

  l     7]];T:7T9;l W>l gK]T;[[;\l ]Wl ];[]K>kl

 l                @    4C;l ZK@C]l TW]l ]Wl 8;l 9WSX;PO;:l ]Wl `;[]H>kl 7T:l K>
l     :;>;T:7T]l 9CW[;l TW]l ]Wl `;[]K>kl WZl XZ;[;T]l ;fK:;T9;l ]Wl D7e;l ]D7]l
 l     9DWK9;l TW]l 8;l b[;:l 7@7KT[]l :;>;T:7T]l

 l                D    #Tkl 7T:l 7NNl ZK@D][l ]Wl XbZ[b;l 7Tkl 7<>KZS7]Ke;l :;>;T[;[
 l     (WbZ]Cl #R;T:R;T`l WZl )K<]Dl #R;T:R;T]l 9Q7HS\l 7T:l W]C;Zl XZ;]ZK7Pl

 l     RW]KWT\l ]D7]l C7e;l 8;;Tl >KN;:l WZl 9WbP:l 8;l >KN;: l

l                             6#*5&2l 0)l #11'#-l 0)l $0.5+$3,0/l
 l              %;>;T:7T]l dT:;Z[]7T:[l ]D7]l gK]Cl ]C;l ;i9;X]KWTl W>l 7Tl 7XX;7L

 "l     87\;:l WTl 7l 9N7IRl ]C7`l :;>;T:7T][l @bIN]kl XL;7l g7[l KTfWNbT`7Zkl 8kl

 l     XN;7:IT@l @bKN`kl :;?;U:7T`l H[l g7HeKT@l 7T:l @IfHT@l bXl 7Tkl ZI@D`l `Wl

l     7XX;7Nl :;?;T:7T`[l 9WTfK9]IWTl WTl `D;l W>>;T\;l `Wl gDK9Dl :;>;T:7T`l K[l

l     XN;7:KT@l @bKN]k l     %;>;T:7T]l bT:;Z[]7T:[l ]C7]l ]DK[l g7Kf;Zl KT9Nb:;[l

l     8b]l K[l TW]l LKSK];:l `Wl 7Z@dR;T][l ]C7]l ]C;l [`7]b];l `Wl gDK9Cl :;>;T:7T]l

l     J[l XN;7:KT@l @bKN]kl K[l bT9WT[]K]b]KWT7Ql 7T:l 7Tkl 7T:l 7NNl 9Q7KS[l ]D7`l

l     ]C;l []7];R;T]l W?l >79`[l XZWeK:;:l C;Z;KTl K[l KT[b><K9K;T]l ]Wl [bXXWZ_l

l     :;>;U:7V]\l XO;7l W?l @bHN`kl

l

 l
                                               l
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 v                      1/2/;+)v 3>;?&1v A&0@+8v 5,v &67+&1v 5-v 9+4<+4(+v
 v              *HIH_FB_iv BKfHHgv iMBjv cfbnOFHFv hMHv (bkfiv O]cbgHgv Bv ibhBU

 v     jHf]v bIv O]cfOgb_]H_jv b_v jMHv Ebm_jv bIv Eb_nOEjOb_v oOiMO_v bfv CHVbov jMHv

 v     fB_LHv EbffHgdb_GO_Lv jbv B_v bIIH`gHv WHnHWv bIv v B_Gv iMHv EfP]O_BXv

 v     MOgibfqv EBhHKbfqv EBUEmYBjHFv Cqv jMHv (bmfjv GHIH_GB_hv KRnHgv mcv iMHv

 v     fOKMjv jbv BccHBUv BZZv bIv jMHv IbZZboR_K#v Bv jMHv cfbEHFmfHgv B_Gv
 v     EB[ElUBjQb_gv mgHGv jbv GHjHf]O_Hv B_Gv O]cbgHv B_qv cbfiOb_v bIv jMHv

  v     gH_jH_EH%v Csv iMHv jHf]v bIv O]cfRgb_]H_jv O^cbgHFv Cqv iMHv (bmfi%v Ev iMHv

 !v     IO_Hv O]dbgHGv Cqv jNHv (bmfjv cfbnOGHGv Oiv Ogv oOjMO_v jMHv gjBimjbfqv

 v     ]BpR]m]%v Fv ibv iMHv HpjH_iv cHf]RiiHFv Cqv YBov jMHv Eb_giOimhOb_BWOiqv bfv
v     WHKBUOjqv bIv GHIH_GB_igv gH_jH_EHv cfbnOGHFv Riv Rgv oRiMO_v jMHv gjBimjbfqv
v     ]BpO]m]%v Hv hMHv B]bm_iv B_Fv iHf]gv bIv B_qv fHgiOimiRb_v bfFHfv cfbnOFHGv
v     Ohv fHemOfHgv cBq]H_iv bIv _bv ]bfHv jMB_v "  "%v Iv iMHv iHf]v bIv

v     cfbCBjOb_v bfv gmcHfnRgHGv fHWHBgHv O]cbgHGv Cqv iMHv (bmfiv cfbnOGHGv Ojv Ogv

v     oOiMO_v iMHv gjBjmibfqv ]BpO]m]%v B_Gv Kv B_qv bIv iMHv JbWZboO_Kv Eb_GOjOb_gv

v     bIv cfbCBiSb_v bfv gmcHfnRgHFv fHUHBgHv O]cbgHGv Cqv jMHv (bkfj$v jMHv

v     Eb_FOiOb_gv gHiv IbfhMv O_v .H_HfBZv 5fGHfv   v bIv jMOgv (bkfi%v jMHv FfmKv
 v     jHgiO_Kv Eb_GOiOb_gv ]B_FBjHFv Cqv  v > 9 v( v ttv vBvv B_Gv  vGv%v
"v     B_Gv jMHv BZEbMbUv B_Gv GflKv mgHv EbaGRiRb_gv BmiMbfRrHFv Cqv  v > 9 ( v

 v     u vCv

v               =MHv ?9&5v BKfHHgv iMBiv cfbnOGHGv Bv BUUv cbfiOb_gv bIv iMH
v     gH_jH_EHv BfHv Bjv bfv DHUbov jMHv gjBjmjbfqv ]BpT]m]v gcHEOIOHGv BCbnHv B_Gv
v     C iMHv (bmfhv O]cbgHgv Bv iHf]v bIv O]cfOgb_]H_hv oRjMR_v bfv BCbnHv iMH
v     fB_KHv EbffHgcb_FR_Kv ibv B_v bIIH_gHv \HnHUv bIv v B_Gv hMHv EfO]O_BZv

v     MOgjbfqv EBjHKbfqv EBZEmZBiHFv Cqv jMHv (bmfjv jMHv >9&5v KOnHgv mcv Ojgv fRKMjv

v     ibv BccHBVv B_qv cbfjOb_v bIv jMHv gH_jH_EHv oRjMv jMHv HpEHciOb_v iMBjv iMHv
v     >:'5v fHgHfnHgv iMHv fOKMjv ibv BccHBZv jMHv B]bm_jv bIv fHgjOimiOb_v bfFHfHFv
 v     OIv iMBiv B]bm_iv Ogv UHggv iMB_v "  " v

                                               
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 ~                       :,;@5=~ 8/~ B2>1*:'B'4~ 8.~ 0@24=C~ 94,'~
 ~             +IKIeHDer~ DLnIIp~ rNDr~ OK ~ DKrIn~ IerInPeL~ D~ LtQ]r{~ kaID

 ~   kunptDer~ ri~ rNRp~ DLnIIcIer ~ HIKIeHDer~ pIIZp~ si~ ySrNHnDy~ DeH~ ptGGIIHp~

 ~   Re~ ySrNHnDyUeL~ HIKIeHDesp~ MtT\s}~ l]ID~ ie~ De|~ EDpUp~ isNIn~ sNDe~ D~

 ~   G^DRc~ DeH~ KReHReL~ rNDr~ Iern{~ Resi~ rNRp~ kaID~ DLnIIcIes~ yDp~

 ~   Ofwj_tgqDo{ ~ sNIe~ D~ sNI~ @<'8~ yWa_~ FI~ nIaOIxIH~ iK~ D_a~ iK~ Rrp~
 !~   iFaRLDrOiep~ teHIn~ rNOp~ DLnIIcIer%~ DeH~ F~ pNit`H~ rNI~ @;'8~ GNiipI~ ri~

 #~   ktnptI~ De}~ GNDnLI~ rNDr~ yDp~ eis~ KPaIH~ Dp~ D~ nIptar~ iK~ rNPp~ DLnIIcIer ~

 $~   rNIe~ R~ De}~ DkkaPGDE]I~ prDrtrI~ iK~ aRcRrDrRiep~ yPaa~ EI~ siaaIH~ FIryIIe~

~   rNI~ HDsI~ iK~ HIKIeHDesp~ pRLeReL~ iK~ rNUp~ DLnIIdIer~ DeH~ sNI~ KPaSeL~

~   GicdIeGReL~ De}~ ptGN~ DGsRie&~ DeH~ VU~ HIKIeHDes~ yDUxIp~ DeH~ LSxIp~ tl~
~   Dab~ HIKIhpIp~ FDpIH~ ie~ rNI~ prDrtrI~ iK~ aWcOrDrRiep ~ De{~ G]DOc~ iK~ knJ

~   PeHXGrcIer~ HI]D{ ~ in~ De{~ pkIIH{~ rnPDa~ G]DPc~ yRrN~ nIpkIGr~ ri~ De{~ pvGN~

~   DGrRie ~ IzGIkr~ ri~ sNI~ IzrIes~ rNDr~ ptGN~ HIKIepIp~ IzSpsIH~ Dp~ iK~ sNI~

~   HDrI~ iK~ HIKIeHDerp~ pOLePeL~ rNPp~ DLnIIcIer ~

 ~                    :,;@4?~ 8/~ A')'?@: ~ :,A,:;'5~ 8:~ ;,? ';3*,~

!~             *IKIeHDer~ DLnIIp~ rNDr~ OK~ rNI~ Giter~ iK~ GiexRGrSie~ Rp
"~   xDGDsIH ~ nIxInpIH ~ in~ pIr~ DpRHI ~ FisN~ rNI~ @;'8~ DeH~ HIKIeHDes~ yPaa~ FI~
$~   nI^IDpIH~ Knic~ Da]~ rNIRn~ iF]RLDrPiep~ teHIn~ rNRp~ DLnIIcIer ~

~                            ,//,)=2A-~ *'=,~ 8/~ '0:,,6,7=~

~         !   =NRp~ DLnIIcIer~ Sp~ IKKIGrPxI~ tkie~ pRLeDrtnI~ DeH~ IzIGtrOie~ iK

~   D]]~ nImtTnIH~ GInrRKRGDrRiep~ E}~ HIKIeHDer ~ HIKIeHDesp~ GitepI] ~ DeH~ De~
~   'ppRprDer~ @eRrIH~ ;rDsIp~ 'rsineI{ ~

~                                 (:,')1~ 8/~ '0:,,6,7>~

~         #   *IKIeHDer~ DLnIIp~ rNDr~ WK~ HIKIeHDes ~ Dr~ De}~ sRcI~ DKsIn~ rNI

 ~ IKKIGrPxI~ HDrI~ iK~ sNRp~ DLnIIcIer ~ [eiyReL]}~ xRi]DsIp~ in~ KDR]p~ si~
!~   kInKinc~ De{~ iK~ HIKIeHDerp~ iF]YLDrOiep~ teHIn~ rNRp~ DLnIIcIer~ D~

#~ EnIDGN ~ rNI~ @;'8~ cD}~ HIG]DnI~ sNRp~ DLnIIcIes~ FnIDGNIH ~       'aa~ iK~

                                            
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 `     ;<><S;8SYX` T9MEB8YETSX` 8V<` Q8Y<VE8M` 8` XESBM<` 9V<8:C` T>` YCEX`
 `     8BV<<Q<SY` EX` XZ==F:E<SY` >TV` YC<` 43(0` YT` ;<:M8V<` 8` 9V<8:C` 8S;`

 `     ;<><S;8SY` XC8MK` STY` 9<` ;<<Q<;` YT` C8[<` :ZV<;` 8` 9V<8:C` \EYCTZY` YC<`

 `     <]UV<XX` 8BV<<Q<SY` T>` YC<` 53)0` ES` \VEYESB `   />` YC<` 63)1` ;<:M8V<X` YCEX`

 `     8BV<<Q<SY` 9V<8:C<;` 8S;` YC<` *TZVY` >ES;X` XZ:C` 8` 9V<8:C` YT` C8[<`

 `     T::ZVV<;` YC<S#` 8` G>` ;<><S;8SY` C8X` UV<[ETZXM_` <SY<V<;` 8` BZHLY_` UM<8`
  `     UZVXZ8SY` YT` YCEX` 8BV<<Q<SY` ;<><S;8SY` \HMM` STY` 9<` 89M<` YT` \FYC;V8\`

 !`     YC<` BZEMY_` UM<8` 8S;` 9` YC<` 43(0` \EMM` 9<` V<LE<[<;` T>` 8MM` EYX`

 "`     T9MEB8YFTSX` ZS;<V` YCEX` 8BV<<Q<SY `

`           "    -TMMT\ESB` YC<` +TZVYX` >ES;ESB` T>` 8` JST\ESB` 9V<8:C` T>` YCFX

`     8BV<<Q<SY` 9_` ;<><S;8SY` XCTZM;` YC<` 63)0` :CTTX<` YT` UZVXZ<` 8S_` :C8VB<`

`     YC8Y` \8X` <EYC<V` ;EXQEXX<;` TV` STY` >EM<;` 8X` 8` V<XZNY` T>` YCEX` 8BV<<Q<SY`
`     YC<S$`

`                 8     ,<><S;8SY` 8BV<<X` YC8Y` 8S_` 8UUME:89M<` XY8YZY<` T>

`     MHQEY8YHTSX` EX` YTMM<;` 9<Y\<<S` YC<` ;8Y<` T>` ;<><S;8SYX` XEBSESB` T>` YCEX`

`     8BV<<Q<SY` 8S;` YC<` >EMESB` :TQQ<S:ESB` 8S_` XZ:D` 8:YETS `

`                 9    ,<><S;8SY` \8I[<X` 8S;` BE[<X` ZU` 8MO` ;<><SX<X` 98X<;` TS

!`     YC<` XY8YZY<` T>` MHQEY8YETSX` 8S_` :P8EQ` T>` UV<ES;H:YQ<SY` ;<M8_` TV` 8S_`
"` XU<<;_` YVE8M` :M8EQ` \EYC` V<XU<:Y` YT` 8S_` XZ:C` 8:YHTS` <^:<UY` YT` YC<`

`     <^Y<SY` YC8Y` XZ:C` ;<><SX<X` <^EXY<;` 8X` T>` YC<` ;8Y<` T>` ;<?<S;8SYX`

`     XEBSESB` YCEX` 8BV<<Q<SY`

`                     ,<><S;8SY` 8BW<<X` YC8Y%` E` 8S_` XY8Y<Q<SYX` Q8;<` 9_

`     ;<><S;8SY` ZS;<V` T8YC` 8Y` YC<` BZELY_` UM<8` C<8VESB` E>` XZ:C` 8` C<8VESB`
`     T::ZVV<;` UVETV` YT` YC<` 9V<8:C&` HE` YC<` 8BV<<;` YT` >8:YZ8M` 98XEX`
`     XY8Y<Q<SY` ES` YCEX` 8BV<<Q<SY'` 8S;` EEE` 8S_` <[E;<S:<` ;<VE[<;` >VTQ` XZ:C`

`     XY8Y<Q<SYX` XC8MM` 9<` 8;REXXF9M<` 8B8ESXY` ;<><S;8SY` ES` 8S_` XZ:C` 8:YFTS`

 `     8B8ESXY` ;<@<S;8SY` 8S;` ;<A<S;8SY` \8E[<X` 8S;` BE[<X` ZU` 8S_` :M8EQ` ZS;<V`

!`     YC<` 7SEY<;` 3Y8Y<X` *TSXYEYZYETS` 8S_` XY8YZY<` 2ZM<` ` T>` YC<` .<;<V8M`

                                              `
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 l     3ePB`l [El $iJABZ@Bl 4ePBl QQEl [El aHBl (BAB^>Pl 4eRB`l [El !^IXJZ>Sl
 l     1^[@BAf^Bl [^l >Zkl [aHB^l CBAB^>Tl ^gPBl bH>bl bHBl `b>bBXBZb`l [^l >Zkl
 l     BiIABZ@Bl AB^JiBAl E^[Xl bHBl `b>bBXBZa`l `H[hPAl ?Bl `e]]^B``BAl [^l >^Bl
 l     IZ>AXJ``I?RBl
 l               !0846l /"l 8/,6%#l 576%5l 240 6,0/l /"l 24%74-.l 5&4<-!&5l
 l                                    0))-!&l /06l 246,'5l
 l                #BEBZA>Zbl eZAB^`b>ZA`l bH>bl aHBl ![h^al >ZAl bHBl :ZIbBAl 5b>bB`
 l     2_[?>bJ[Zl >ZAl 2^Bb^I>Pl 5B^iI@B`l 0DDI@Bl >^Bl Z[cl ]>^bJB`l b[l bHJ`l
 l     >G^BBXBZal >ZAl ZBBAl Z[bl >@@B]bl >Zkl [El bHBl 950`l `BZaBZ@JZGl
 l     ^B@[YXBZA>bI[Z`l [^l aHBl ]>^aJB`l >G^BBXBZa`l a[l E>@a`l [^l `BZaBZ@IZGl
l     E>@b[^` l
l                #BEBZA>Zdl eZAB^`a>ZA`l bH>al ?[bHl ABEBZA>Zbl >ZAl bHBl :50l >^B
l     E^BBl b[l >l `h]]PBXBZbl bHBl E>@b`l ?kl `e]]PkJZGl ^BUBi>Zbl JZE[^X>bJ[Zl
l     b[l bHBl 9ZIbBAl 5b>bB`l 2^[?>bI[Zl >ZAl 1^Bb^K>Pl 5B^iJ@B`l 0DDJ@Bl >ZAl bHBl
l     ![h^al ?l @[^^B@bl >Zkl >ZAl >PPl E>@bh>Pl XJ``b>bBXBZb`l ^BR>bJZGl b[l aHBl
l     ![e^b`l 5BZaBZ@JZGl *eJABRJZB`l @>P@eP>bI[Z`l >ZAl ABbB^XLZ>bJ[Zl [El
l     `BZbBZ@Bl >ZAl @l >^GhBl [Zl >]]B>Ul >ZAl @[UP>aB^>Ul ^BiIBjl bH>bl bHBl
l     !\e^b`l 5BZbBZ@JZGl +eJABPJZB`l @>V@eU>bJ[Z`l >ZAl bHBl `BZbBZ@Bl Jal
l     @H[[`B`l b[l IX][`Bl >^Bl Z[bl B^^[^l >PaH[hGHl B>@Hl ]>^bkl >G^BB`l b[l
 l     X>JZb>JZl Ib`l iIBjl bH>bl bHBl @>P@hU>bI[Z`l JZl ]>^>G^>]Hl l >^Bl
l     @[Z`I`aBZal jIbHl aHBl E>@b`l [El bHJ`l @>`B l   =HLWBl aHJ`l ]>^>G^>]Hl ]B^XJb`l
l     ?[bHl bHBl ;50l >ZAl ABDBZA>Zbl b[l `h?XJcl DeUPl >ZAl @[X]PBbBl D>@bh>Ul
l     IZE[^X>bI[Zl b[l bHBl :ZJbBAl 5b>bB`l 2^[?>bI[Zl >ZAl 2^Bb^J>Pl 5B^iI@B`l
l     0EEJ@Bl >ZAl aHBl ![g^bl BiBZl JEl bH>al E>@ae>Vl JZE[^X>bJ[Zl X>kl ?Bl iJBjBAl
l     >`l IZ@[Z`J`bBZbl jMbHl bHBl E>@b`l >G^BBAl b[l IZl bHJ`l >G^BBXBZbl bHI`l
l     ]>^>G^>]Hl A[B`l Z[bl >EEB@al ABEBZA>Zb`l >ZAl aHBl :50`l [?RJG>bJ[Z`l Z[al
l     a[l @[ZbB`al bHBl F>@b`l >G^BBAl b[l NZl aHO`l >G^BBXBZbl
l
                                              l
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 _               !565N3/NT_ XN35RST/N3S_ T=/T_ 5Z5N_ ?6_ T=5_ OXRU_ ?;NOR5S_ /N]

 _    S5NV5N1@N;_ R51OLL5N4/W@ON_ 7@N4S_ 7/1VS_ OR_ R5/1<5S_ 1ON1DXS@ONS_

 _    3?865R5NT_ 9ROL_ T=OS5_ /;R553_ UO_ /N3 OR_ ?LPOS5S_ /N^_ S5NT5N15_ XP_ UO_ T=5_

 _    L/\?LYM_ 5ST/0E?S=53_ 0^_ SU/TXU5_ 3585N4/NT_ 1/NNOT_ 8OR_ T=/V_ R5/SON_

 _    [AT=3R/[_ 3595N3/NTS_ ;X?FT^_ PF5/_ /N3_ 3595N3/NT_ [?FF_ R5L/?N_ 0OXN3_ TO_
 _    :XG:?HH_ /IF_ 35:5N3/NTS_ O0EB;/W?ONS_ XN35R_ T=?S_ /;R55L5NT_      !585N3/NU_

 _    XN35RST/N3S_ T>/T_ NO_ ON5_      NOT_ U=5_ PROS52XUOR_ 3585N3/NUS_ /TTORN5]_
 _    OR_ U>5_ OXRT_  1/N_ L/C5_ /_ 0?N3?N;_ PR53?1T?ON_ OR_ PROL?S5_ R5;/R3?N;_
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 1                                   EXHIBIT A
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 8                          UNITED STATES DISTRICT COURT
 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,               No. CR
12             Plaintiff,                    I N F O R M A T I O N
13                   v.                      [18 U.S.C. § 1341: Mail Fraud]
14   GABRIELA LLERENAS,
       aka “Maria G. Sandoval,”
15
               Defendant.
16

17
          The Acting United States Attorney charges:
18
                              [18 U.S.C. §§ 1341, 2(b)]
19
     A.   INTRODUCTORY ALLEGATIONS
20
     At times relevant to this Information:
21
          1.    Defendant GABRIELA LLERENAS, also known as “Maria G.
22
     Sandoval,” was a resident of Perris, California.
23
          2.    California’s Employment Development Department (“EDD”) was
24
     the administrator of the unemployment insurance (“UI”) benefit
25
     program for the State of California.
26
          3.    On March 13, 2020, the President of the United States
27
     declared COVID-19 an emergency under the Robert T. Stafford Disaster
28
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 1   Relief and Emergency Assistance Act.       As a result, Congress passed

 2   the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”),

 3   which the President signed into law on March 27, 2020.           The CARES Act

 4   provided over $2 trillion in economic relief protections to the

 5   American people from the public health and economic impacts of COVID-

 6   19.

 7         4.   Prior to the enactment of the CARES Act, to be eligible for

 8   UI administered by EDD, a person had to have been employed and worked

 9   in California and received at least a certain amount of wages from an

10   employer in the 18 months preceding his/her UI benefits claim.

11   Because of this requirement, self-employed workers, independent

12   contractors, and employees with insufficient earnings were not

13   eligible to receive regular UI benefits.

14         5.   The CARES Act established a new program –- Pandemic

15   Unemployment Assistance (“PUA”) -- to provide unemployment benefits

16   during the COVID-19 pandemic to people who did not qualify for

17   regular unemployment insurance benefits, including business owners,

18   self-employed workers, independent contractors, and those with a

19   limited work history who were out of business or had significantly

20   reduced their services as a direct result of the pandemic.           UI

21   benefits provided under the PUA program are sometimes referred to as

22   PUA benefits.

23         6.   Under the PUA provisions of the CARES Act, a person who was

24   a business owner, self-employed worker, independent contractor, or

25   gig worker could qualify for PUA benefits administered by EDD if

26   he/she previously performed such work in California and was

27   unemployed, partially unemployed, unable to work, or unavailable to

28   work due to a COVID-19-related reason.
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 1           7.    Persons applying for PUA benefits did not need to submit

 2   any supporting documents to EDD with their applications.           Claimants

 3   entered their total income for the 2019 calendar year on the

 4   application.     The stated income was used to pay the minimum benefits

 5   of $167 per week.     EDD could request documentation to provide proof

 6   of the stated income.

 7           8.    A PUA claimant was required to answer various questions to

 8   establish his/her eligibility for PUA benefits.         The claimant was

 9   required to provide his/her name, Social Security Number, and mailing

10   address.      The claimant was also required to identify a qualifying

11   occupational status and COVID-19 related reason for being out of

12   work.

13           9.    After it accepted a UI claim, including a claim submitted

14   pursuant to the PUA program, EDD typically deposited UI funds every

15   two weeks to an Electronic Bill Payment (“EBP”) debit card

16   administered by Bank of America (“BofA”), which the claimant could

17   use to pay for his/her expenses.       The EBP card was mailed via the

18   United States Postal Service to the claimant at the address the

19   claimant provided in his/her UI application.

20   B.      THE SCHEME TO DEFRAUD

21           10.   Beginning by at least April 2020 and continuing through at

22   least October 2020, in Riverside and Los Angeles Counties, within the

23   Central District of California, and elsewhere, defendant LLERENAS,

24   together with others known and unknown to the Acting United States

25   Attorney, knowingly and with the intent to defraud, devised,

26   participated in, and executed a scheme to defraud EDD and the United

27   States Treasury as to material matters, and to obtain money and

28   property from EDD and the United States Treasury, namely, UI
                                     3
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 1   benefits, including PUA benefits, by means of material false and

 2   fraudulent pretenses, representations, and promises, and the

 3   concealment of material facts.

 4        11.     The fraudulent scheme operated, in substance, as follows:

 5                a.   Defendant LLERENAS filed and caused the filing with

 6   EDD of fraudulent applications for UI benefits that falsely asserted

 7   the named claimants were self-employed independent contractors who

 8   had been negatively affected by the COVID-19 pandemic, thereby

 9   triggering eligibility for UI benefits under the PUA provision of the

10   CARES Act.    Defendant LLERENAS obtained some of the names, Social

11   Security Numbers and other identifying information she used to submit

12   the fraudulent claims through her prior work as a tax preparer.

13                b.   In some instances, defendant LLERENAS falsely asserted

14   and caused to be asserted on the UI applications submitted in

15   furtherance of the scheme that the claimants were residents of

16   California entitled to UI benefits administered by EDD when, in fact,

17   they were not and defendant knew they were not.

18                c.   In some instances, defendant LLERENAS falsely asserted

19   and caused to be asserted inflated income for the named claimants on

20   their applications in order to receive the maximum benefit amount.

21                d.   In some instances, defendant LLERENAS made up and

22   caused to be made up the occupation that was listed for the named

23   claimant on the application.

24                e.   To the contrary, and as defendant LLERENAS then well

25   knew, many of the persons named as claimants on the applications

26   defendant LLERENAS filed and caused to be filed had no residential

27   history in the State of California and/or had not been employed in

28   the occupations defendant LLERENAS reported and caused to be reported
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 1   on the UI benefits applications she submitted and caused to be

 2   submitted in the names of the named claimants.

 3               f.   By falsely asserting that the claimants had worked in

 4   the State of California as independent contractors who had lost work

 5   because of COVID-19, defendant LLERENAS falsely represented and

 6   caused to be falsely represented that the named claimants were

 7   entitled to UI benefits administered by EDD when, as defendant

 8   LLERENAS then knew, they were not.

 9               g.   As a result of the fraudulent UI benefit claims that

10   defendant LLERENAS filed and caused to be filed, EDD authorized BofA

11   to issue EBP cards in the names of the named claimants.           Defendant

12   LLERENAS knew that the applications she submitted would cause BofA to

13   mail the EBP debit cards issued to the named claimants to the

14   addresses defendant LLERENAS provided and caused to be provided on

15   the fraudulent claim applications, including in some instances

16   addresses that defendant LLERENAS and/or her associates controlled.

17         12.   Through this scheme, defendant LLERENAS caused

18   approximately 197 fraudulent PUA claims to be filed with EDD

19   resulting in losses to EDD and the United States Treasury of at least

20   $1,633,487.

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 1   B.   USE OF THE MAILS

 2        13.   On or about August 6, 2020, within the Central District of

 3   California, and elsewhere, defendant LLERENAS, for the purpose of

 4   executing the above-described scheme to defraud, willfully caused an

 5   envelope containing a BofA debit card issued in Jo. G. to be to be

 6   sent and delivered by the United States Postal Service, according to

 7   the directions thereon, to an address in Compton, California.

 8
                                             TRACY L. WILKISON
 9                                           Acting United States Attorney
10

11
                                             SCOTT M. GARRINGER
12                                           Assistant United States Attorney
                                             Chief, Criminal Division
13

14                                           RANEE A. KATZENSTEIN
                                             Assistant United States Attorney
15                                           Chief, Major Frauds Section
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